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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    Theophalis (Binky) Wilson,                                 :
                 v.                                            :                 CIVIL ACTION
                                                               :
    City of Philadelphia, et al                                :                 NO. 21-2057
                                                               :
    Christopher Williams,                                      :
                 v.                                            :                 CIVIL ACTION
                                                               :
    City of Philadelphia, et al                                :                 NO. 21-5268
                                                               :


                                                        ORDER

                   AND NOW, this 27th day of April, 2022, upon consideration of the status

conference held before this Court on April 21, 2022 and the agreement of all parties present

during that conference, it is hereby ORDERED that the cases Wilson v. City of Philadelphia et

al. 21-cv-02057 and Williams v. City of Philadelphia et al., 21-cv-05268 be consolidated for the

limited purposes of discovery. i

            IT IS SO ORDERED.



                                                           BY THE COURT:


                                                            /s/ John Milton Younge
                                                           JUDGE JOHN MILTON YOUNGE

i
 Though the parties did not file a Motion to Consolidate, during a status conference held on April 21, 2022 all
counsel of record requested and agreed to consolidation for discovery. The cases Wilson v. City of Philadelphia et
al. 21-cv-02057 and Williams v. City of Philadelphia et al., 21-cv-05268 contain substantially similar allegations
filed against many of the same defendants. This Court has the discretion to consolidate actions that “involve a
common question of law or fact.” Fed. R. Civ. P. 42(a). If the court finds that such a commonality exists, the court
may “(1) join for hearing or trial any or all matters at issue in the actions; (2) consolidate the actions; or (3) issue any
other orders to avoid unnecessary cost or delay.” Id. The court has broad discretion to determine if consolidation is
appropriate. Easterday v. Federated Mut. Ins. Co., 2015 U.S. Dist. LEXIS 36563, at *2 (E.D. Pa. 2015). In its
determination, the court must balance the advantages of judicial economy against the potential harm in delays,
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additional expenses, jury confusion, or prejudice. Farahmand v. Rumsfeld, 2002 U.S. Dist. LEXIS 22473, *4 (E.D.
Pa. Nov. 20, 2002). The Court finds it appropriate to consolidate these cases for the limited purposes of discovery
under Fed. R. Civ. P. 42(a). These cases involve substantially similar underlying facts and legal theories.
Consolidation in this matter furthers judicial convenience and efficiency. The potential for consolidation for trial
will be reserved until a later date.
